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          ORDERED in the Southern District of Florida on November 20, 2020.




                                                                  Erik P. Kimball, Judge
                                                                  United States Bankruptcy Court
_____________________________________________________________________________




                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                            www.flsb.uscourts.gov


      In re:                                                       Case No. 20-13466-EPK
                MARK W BOEHM                                       Chapter 13

                        Debtor                                     W. Palm Beach Division
      ______________________________/

                              ORDER SUSTAINING DEBTOR'S OBJECTION TO CLAIM


               Based upon the record, without opposition, on the consent calendar on November 18, 2020 in

      consideration of the Debtor's Objection to Claim (ECF#67), it is hereby:

               ORDERED that:

                The Objection to the Claim (POC#21) filed by Michigan Department of Treasury is hereby

      SUSTAINED. The claim shall be Stricken and disallowed.

                                                            ###




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Submitted by:
Sean I. Koplow
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Lake Worth, FL 33467
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Facsimile: 561/425-6061
email: seankoplow@gmail.com

Sean I. Koplow is directed to serve a copy of this Order to all interested parties and file a Certificate of
Service.




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